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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DERRICK JACOBS CIVIL COMPLAINT NUMBER: 19-CV-4616
V.
CITY OF PHILADELPHIA, et al.

PLAINTIFF’S DERRICK JACOBS RESPONSE TO DEFENDANTS’ RULE 56 MOTION
FOR SUMMARY JUDGMENT

SUBMITTED BY:

DERRICK JACOBS
PLAINTIFF

PRO SE

PO BOX 1454

BERLIN, MD 21811
derrickjacobs9116@gmail.com

Date: January 12, 2024

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PLAINTIFF’S OPPOSITION/RESPONSE TO DEFENDANT TRIPP’S MOTION FOR

SUMMARY JUDGMENT

PRELIMINARY STATEMENT

The plaintiff commenced this matter on October 4, 2019, prior to the Covid-19 pandemic. What
the plaintiff has endured since prior to the commencement of this matter is historical prejudice at
the hands of white people. The Court and defendants have continually told the plaintiff what is
relevant and what is not relevant. The Court and defendants have consistently misrepresented the
record and inserted their “perceived” facts and outright lies into the record in an effort to destroy
the Black plaintiff. The Court has clearly accepted the White facts instead of the right facts. The
Court deems the black plaintiff as beneath civility and has continually disrespected the former
officer of the court while heralding criminals as officers of the court. To quote a respected black
person that has endured similar persecution before triumph “this is a high-tech lynching” by the
Court, and/or its law clerks, who believe they are playing video games while destroying the
plaintiff and his family. The Court and defendants would have you believe the plaintiff's
accusations are unfounded and not based on facts. The plaintiff has another matter in which not
one request for recusal was made and that Court has ruled against the plaintiff a number of times
and not once did the plaintiff deem that Court’s actions as bias. Quite the contrary, that Court
listened to the arguments and made decisions based upon the facts articulated by the parties, not
a predetermined agenda. The pro se plaintiff has also showed legal minds and non legal minds

the filings. The plaintiff could not find one person that could state the Court’s actions were not

bias.

I.

Il.

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PLAINTIFF’S RESPONSE TO DEFENDANT TRIPP’S INTRODUCTION

The plaintiff disputes the defendant Tripp’s assertion that she did not conspire with
fellow defendants, named and unnamed, to bring “baseless” charges against the
plaintiff. The plaintiff disputes that she did not conspire to have him terminated from
employment with the help of the Philadelphia Police Department. Defendant Tripp
initiated a baseless criminal proceeding against the plaintiff without intent to
administer justice. The plaintiff disputes defendant Tripp’s claim that after extensive
discovery there is “no evidence” to support the plaintiff's claims. To the contrary,
there is a plethora of evidence to compel a “jury” of the plaintiff's “peers” to render a
judgment in the plaintiffs favor. This is including defendant Hendershot’s deposition
testimony that stated Tripp’s actions against the plaintiff were “wrong.” The plaintiff
did not “resign” from his employment. The plaintiff was “constructively discharged”
by criminals from his employment. Defendants Hendershot authored a fabricated
document showing the plan to constructively discharge the plaintiff. The plaintiff
disputes the criminal actions of defendant Tripp are protected by immunity. Tripp’s
actions were administrative and criminal, which are not protected by immunity.

FACTUAL BACKGROUND

1. Admitted.

2. Denied. This event never occurred. There is zero evidence in the record this event
ever occurred. The only reference to this comes from a known and proven liar,
defendant Tracy Tripp. Tripp attempts to justify this fabrication by stating

transcripts in a homicide/murder trial were lost. When asked at her deposition was

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there ever a grand jury leak, defendant Tripp responded, “I can’t answer that
question, sir.” Tripp deposition at 63, lines 12-13.

12] Q. Was there ever a grand Jury Teak?

13) A. Typcentt anewer phat question, sir.
Where are contemporaneous notes of the “certain statements” made by FOP
attorney Fortunato Perri? Were the “certain statements,” the cow jumped over the
moon? Were the “certain statements,” the dish ran away with the spoon? There is
nothing in any part of this record of any “certain statement” or grand jury leak.
Denied. The plaintiff was present in the courtroom, standing right above Mensah
Dean from the Philadelphia Inquirer watching him write notes on his pad.
Nothing that Mr. Perri stated “on the record” could lead anyone to “understand”
that a leak of grand jury information occurred, because the grand jury leak story is
a fabrication.
Denied. Hendershot testified at his deposition the grand jury leak story was a

farce. Hendershot deposition at 137, lines 4-9.

allowed her to continue with this farce and stress

4 QO. But you knew that:what she was. alleging
5 wasn't true; is that correct?

6 A. Yes.

7 Q. But the Philadelphia Police Department
8

9

out their employees; is that correct?

Denied. Tripp testified at her deposition she did not know when the “statements”
were made to Mr. Perri.
Admitted. To the extent the plaintiff had a consultation with an attorney and a

Commonwealth prosecutor attempted to violate the Constitutional Rights of the

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10.

plaintiff by attempting to use the plaintiff's Commanding Officer to obtain the
privilege information. To date the plaintiff has not revealed the details of the
consultation. The plaintiff has not released the privilege of the consultation.
Denied. Defendant Tripp admitted the criminal proceeding to Judge Coleman,
Attorney Greg Pagano, and Jacobs’ Commanding Officer Lieutenant Jason
Hendetrshot. Defendant also informed defendant Hendershot the only reason the
speech chilling criminal prosecution/persecution of the plaintiff ended was
because of “lost transcripts.”

Denied. Both the plaintiff's counsel and Commanding Officer confirmed the
criminal proceeding and prosecution of the plaintiff. Also the defendants in the
arguments (ECFs 28, 33) acknowledged the criminal proceedings being initiated
and later withdrawn.

Denied. Defendant Tracy Tripp “approached” the plaintiff on August 1, 2019 and
informed him she was “withdrawing” the criminal charges against the plaintiff.
When asked, why would you as a prosecutor, contact a person represented by
counsel; Tripp responded that’s assuming I approached you. The plaintiff
followed up with, are you saying I approached you? Tripp responded that’s not
what I’m saying. There would not be a reason to just “inform” the plaintiff the
“investigation” is over. Q. Why as a prosecutor would you approach a party
without his counsel? A. That assumes I approached you, sir. Q. Are you testifying
here today that I approached you? A. No, sir. Tripp Deposition page 86.

Denied. Defendant Tracy Tripp informed defendant Jason Hendershot she was

“withdrawing prosecution” because of “lost transcripts” against the plaintiff.

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11.

Id.

13.

14.

15.

16.

17.

Denied. The plaintiff did participate in the podcast. The plaintiff did not
“disparage” anyone. The plaintiff has factual knowledge of at least three criminal
actions committed by the defendants prior to the January 18, 2020 podcast. The
defendants illegally arrested former Philadelphia Police Officer Ryan Pownall.
The defendants illegally and intentionally let an attempted murderer of multiple
police officers go free and file a civil rights lawsuit. The defendants conducted an
illegal criminal proceeding against the plaintiff in an effort to prevent him from
exposing their criminal actions.

Denied. This was an external investigation initiated by Philadelphia District
Attorney Larry Krasner. Krasner has a pattern and practice of using the
Philadelphia Police Department’s disciplinary process (DF Pace) to target sworn
law enforcement officers.

Denied. Defendant Wilson never heard the podcast. Defendant Wilson is a known
liar, who intentionally lied to millions of Americans to advance corruption.
Denied. Defendant Wilson used defendant Hendershot to keep Krasner and Tripp

“up to speed” regarding the plaintiff by providing information to their attorney

Kia Ghee.

Denied. This was an “external” retaliatory order by Krasner.

Admitted.

Denied. Immediately (four (4) minutes) following the disciplinary interview,

defendant Hendershot sent confirmation to Chief Inspector Frank Vanore the
“mission” was accomplished. Hendershot informed Vanore he would be

requesting disciplinary charges against the plaintiff.

Ill.

IV.

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18.

19.

20.

21s

22.

Admitted.

Denied.

Denied.

Denied. The known and proven liar Dennis Wilson contradicts thousand of
Philadelphia Police Officers who would disagree with Conduct Unbecoming an
Officer is a “minor violation.”

Denied. Defendants forced the plaintiff into retirement. The defendants
intentionally redirected the plaintiff's communication intended for the Police
Commissioner to Krasner’s attorney Kia Ghee. This allowed the defendants to
force the plaintiff to use his accrued sick/vacation/holiday time while waiting for
a response from the Police Commissioner. Defendant Jason Hendershot then
began to calculate how long it would take for the plaintiff to use all of his time
and be forced into retirement. Hendershot then prepared a fabricated document on
March 4, 2020 to Vanore indicating the plaintiff informed him he would leave the
department in March 2021. Plaintiff never resigned from the Philadelphia Police

Department. He was forced into retirement by the defendants.

PROCEDURAL BACKGROUND

The plaintiff disputes the defendants’ procedural background.

ARGUMENT

A.

Legal Standard

To successfully oppose a motion for summary judgment, the non-moving party must

designate specific factual averments through the use of permissible material that
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demonstrate a triable factual dispute. Celotex Corp. v. Catrett, 477 U.S. 317, 324

(1986).

B. Section 1983 Retaliation

The plaintiff has demonstrated the conduct was committed by a person(s) acting
under the color of state law, and the complained-of-conduct deprived the plaintiff
of rights secured under the Constitution or federal law. Baloga v. Pittston (3 Cir.
2019). The plaintiff has also demonstrated that he was engaged in a
constitutionally protected activity; suffered an “adverse action” by governmental
officials and; there is a causal link between the exercise of his constitutional rights
and the adverse action taken against him. The plaintiff and his Commanding
Officer spoke on numerous occasions regarding the pending retaliation that would
be inflicted on the plaintiff by District Attorney Larry Krasner when the lawsuits

were filed. Hendershot Deposition, Pages 110 lines 21-24 and 111 lines 1-6.

21 Q. ‘Peior to the ‘Filings of this ‘lawsuit,
22

23

24

JASON HENDERSHOT RIL

A. LE don't remember the exact words that |
we spoke of, but DT do remember having conversations
esnGisring Of Something around those lines.) Bora cts
WHat’ was Sata, T eoula not (tell you.) Bub thats --

that's my answer. “e don't semenmbexs exactly what we

A & & WN B

. Plaintiff Suffered Retaliatory Criminal Prosecution

Both, the plaintiffs former Commanding Officer defendant Jason Hendershot and
the plaintiff's former attorney Greg Pagano informed the plaintiff Tripp was

criminally prosecuting him and the only reason she withdrew the prosecution

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were because of “lost transcripts.” The defendants now claim it was only an
“investigation.” One thing is consistent with the defendants’ investigation. The
plaintiff is the “only” one interviewed and/or involved in _ the

“investigation/prosecution.”

Sue Lt. Hendershot —
5:20 PM, Uan BO

I am in need of either a iets eh in Memorandum a

; ee ‘Detective
: when ae :

I know Weve. talked about this Hetore and you,
offered to Pro Oe es Notes oF eos Best

‘tn Novernber of sore. i Sricially” asked you for thie
Notes of Ee otiay eet

The Police Department needs something that
ie oer is i

Te tle. I eile re
ua and Jud |

“that Gharges were withdrawn from Detective
jacobs.

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11:46 AM Ge

Hey Jake. Hope you're

well. That's been my

understanding but | have

not received anything in

WHS se 181 AM

11:54 AM Georg

10

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D. Defendants Conspired to Terminate the Plaintiffs Employment

The plaintiff has clearly established the conspiracy between the parties and non-

parties in this matter. The defendants’ investigation into the plaintiff lasted four

(4) minutes. Defendant Wilson never listened to the podcast before implementing

Krasner’s orders against the plaintiff, DF Pace and Wilson exonerated Pace of

the violations they disciplined the plaintiff,

1.

The evidence clearly shows the defendants “Constructively Discharged”
the Plaintiff

The record showed that defendant Hendershot prepared fabricated documents,
including in which, he calculated weekly/bi-weekly the estimated departure of
the plaintiff a year in advance of the plaintiffs separation date. Hendershot

then submitted the fabricated document to Chief Inspector Frank Vanore.

Detective Jacobs' status

Jason Hendershot <Jason.Hendershot@Phila.gov>
Wed B/9 72026 SAG PIM

To: Frank Vanore <Frank Vanoreg? phita.gov>

Good afternoon Chief inspector Vanore,

Just wanted to keep you informed about Detective Jacobs’ status:

For the last two (2) months or so, Detective Jacobs has mentioned on several occasions that
he intends to "run time” for a year and then retire. He never committed to a date, but
indicated that it would be in March. | informed Detective Jacobs that he would have to
officiatly request to “run time” and when he was ready to officially do so, | would make the
appropriate request through the chain-of-command.

in February, linformed Detective Jacobs that twas going to take him off of the "wheel",
because | could not allow hirn to be the lead investigator onan OIS. Detective Jacobs
understood and agreed that he should not be the fead investigator going forward, due to him
getting ready to "runtime".

In February, Detective Jacobs received 75-18s for violation of departrnental patlicy. Ne
pleaded not guilty and requested a hearing. Since that point, he believed that he was being
"targeted" by the PPD.

On February 25, Detective jacobs informed Sgt. Farrell that he was off sick and was unsure of
when he would return to work. Detective Jatobs was carried sick and as of today (8-4-2020)
has not returned to work. Since he has been off sick for more than 9 consecutive calendar
days, | contacted him and informed him that he needed to provide rne with a sick note, and
that in order for him to return to work, he would have to be seen by a doctor at 19th &
Fairmount. At thts point, during our phone conversation, Detective Jacabs informed me that
he was [OD from stress, caused by the PPD. in addition, Detective Jacobs informed me that
he had filed another tawsuit against the PPD, including PC Outlaw, pertaining to his 75-18s.
At this point, | informed Detective jacobs that |wauld look into whether or not stress is
something an employee can be carried as IOD,.

l contacted the Safety Office and stress does not fall under 1OD. Detective Jacobs remain in
sick status until cleared to return to duty by the city doctor at 19th & Fairmmount,

lrelayed this information to Detective Jacobs and it was obvious that he was documenting
the information being relayed to him, ftsay that because he asked who the C/O of the Safety
Office was. Detective Jacobs stated that. he was going to submit a doctor's note and
memorandum, requesting to be carried [OD. He added that he wanted the disapproval in

writing.

As of now, | have not received his sick note or his memorandum.

11

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Lastly, | do not believe that Detective Jacobs should remain assigned to the OIS! Unit for now,
He has given every indication that he does not plan on being assigned to the unit long-term.
In addition, his claim about being under intense stress would render him incapable of
participating in an OJS investigation.

1am respectfully requesting that Detective Jacobs be detailed to another unit within the
bureau, until he is fit for duty and cleared by the city doctor.

if approved, | am respectfully requesting that a detective be detailed in to the OIS! Unit, in his
absence.

Jason

Lt. Jason Hendershot #148

Philadelphia Police Department
Officer-Invalved Shooting Investigations
Office #215-683-1866

Cell # 215-410-1829

The evidence will also show the investigation and decision to discipline the
plaintiff took less than four (4) minutes. The plaintiff signed his disciplinary
interview on January 30, 2020 at 1:29 PM. Hendershot authored an email to
Chief Inspector Frank Vanore with the interview attached at 1:33 PM.
Hendershot informed Vanore four (4) minutes after the interview the plaintiff
would be disciplined. Vanore responded at 1:35 PM, Received. I think that’s

acting in concert.

SIGNATURE:

UNIT: Gif
DATE & TIME: Safes

WITNESSES: _ eA « G re

12

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RE: Jacobs Interview

Frank.Vanore <Frank.Vanore@phila.gov>
Thy 13072026 Liss ev
To: Jason Hendershot <Jason.HendershotG Phila.gov>

Received

Frank Vanore

Chief inspector

Detective Bureau

Office Number 275-686-3320
Cell 215-359-5606

mememermn tw Original message -«---~--

From: Jason Hendershot <Jason.Hendershot@Phila.gov>

Date: 1/30/20 2:33 PM (GMT-05:00)

To “Frank.Vanore" <Frank. Vanore@phila.gov>

Subject: Jacobs Interview

Good afternoon Chief inspector Vanore,

| interviewed Detective Jacobs today and attached his interview for your review.

| kept the interview focused on whether or nat he had permission to participate in the
Podcast and whether or not he had permission to divulge staffing levels in our Unit.

He added that he is a Whistle Blower and that he brought this to the attention of PC Coulter
and D/C Wilson.

| will prepare the request for disciplinary action, since he violated policy.

Jason
The defendants violated departmental policy and the Constitution in their
retaliation of the plaintiff. Defendant Wilson indicated the plaintiff's
Constitutional Rights does not matter. A four (4) minute investigation is all
you need (see Nicoletti). Wilson April 4, 2022 Deposition, page 257, lines 5-

11 (Jacobs v. City of Philadelphia 19-cv-4615)

You can't testify here today

ex ace ly what Plain tate tacos

7 violated?
8 A. qr donmit have toy; ae sddeun ese
9 Someone e1Lse did ‘the

10 ined you

Li
Chief Inspector Frank Vanore only took two (2) minutes to verify

Hendershot’s “thorough and complete” investigation.

13

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2. The evidence clearly shows defendant Tripp participated in the
conspiracy and retaliatory disciplinary process of the Plaintiff
The plaintiff contacted Hendershot. Hendershot contacted Tripp. Tripp
contacted Krasner. Krasner contacted Wilson. There was no reason
Hendershot had to keep Krasner’s attorney Kia Ghee “up to speed” in 2019
regarding the plaintiff.

3. The evidence clearly shows a meeting of the minds
Hendershot’s testimony proves the meeting of the minds when Wilson ordered
Hendershot to keep Krasner “up to speed” through his attorney Kia Ghee.

E. Defendant Tracy Tripp’s actions are not protected by Qualified Immunity

Tripp was not performing any prosecutorial function while engaged in her

criminal activity. Tripp’s illegal and fabricated investigation(s) were

administrative and never rose to the level of prosecutorial. Employment title does

not equal immunity. Tripp’s actions are akin to Police Officers

planting/fabricating evidence. See Buckley v. Fitzsimmons

1. There is zero evidence in the record (or anywhere else) of there ever being a
grand jury leak. On the contrary, the fabrication of a grand jury leak was only
devised when Hendershot informed Tripp the plaintiff was attempting to
report the corruption and criminality committed by her and the Philadelphia
District Attorney’s Office. Someone produce any evidence, anywhere, by
anyone of a grand jury leak...I’m waiting. Tripp was asked that question, her
response... can’t answer that question, sir. Tripp deposition at 63, lines 12-

13.

14

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12) Q. Was there ever a grand jury leak?

13; A. I can't answer that question, sir.

Tripp could not answer the question under oath because it was a lie then, it’s a
lie now, and it will be a lie at trial.
Defendant Hendershot confirmed the grand jury story was a fabrication during

his deposition.

JASON HENDERSHOT 128
1 Q. You just stated you went to. bat for me.
2 How did you go to bat for me?:
3 A. Iowent to bat for you when I spoke to
4 Deputy Commissioner Wilson when I was with my mother
: 5 and I told him that I did not believe you leaked any
i 6 grand jury information. And that was based on the
7 fact that, to my knowledge, you did not testify
8 before the grand jury; therefore, how could you ever
9 leak grand jury information if you were not privy to
10 any.
. a So to call you in front of the grand
22 jury and allege that you did or ask you about
: 13 something that you may have done, when that person
14 knew that you did not participate, in my opinion, is

15 just wrong. And I relayed that to the deputy

OSS

16 commissioner and I probably relayed that to other
17 people. Who? I dontt know. I know I relayed that
18 to you. And that's why I said I went to bat for you

19 pecause I stood up for you because I know you did not

5 20 do that because you were never there.

: 21 Q. And as a result of Tracy Tripp,
22 obviously, committing a criminal act, what action did
23 you or Deputy Commissioner Wilson take against Tracy

24 Tripp?

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15

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a

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JASON HENDERSHOT 129
1 MR. GONZALES: Objection. You have to
2 rephrase the question because you're saying
3 that Tracy Tripp engaged in a criminal act. I
4 don't know that this witness has testified to
5 that so I don't know how he could answer the
6 question.
7 MR. JACOBS: The witness just stated
8 ‘that he knew that ADA Tracy Tripp was alléging:
9 t could not have possibly
10 happened as a result of the Plaintiff
11 attempting to report corruption.

12 BY MR. JACOBS:

13 Q.
14| Commissioner Wilson take against Tracy Trip

15| violating the Plaintiff's constitutional ‘rights as an

17 MR. GONZALES: I'm going to object. He
18 can't answer that. You put all these

19: preambles in there and assumptions about --

20 can you just rephrase and ask a factual

21 question?

22 BY MR. JACOBS:

23 Q. Did you contact anyone when you learned

24 that the Plaintiff was being targeted by Tracy Tripp?

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610-608-1040

Q. But the Philadelphia Police Department

allowed her to comtinue with this farce and stress

out their employees; is that correct?

A. Iocan't say with any degree of
certainty that it caused -- that Detective Sierra
ever informed me that it caused stress for him. I
don't recall that conversation. I'm mot denying it.
Io just don't recall it. It was evident’ that it did

cause stress for you, yes.

16

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V. DEFENDANT TRACY TRIPP CONCLUSION

For the foregoing reasons, the defendants’ motion for summary judgment should be

DENIED.

PLAINTIFF’S OPPOSITION/RESPONSE TO DEFENDANTS DENNIS WILSON, DF

1.

PACE, AND JASON HENDERSHOT MOTION FOR SUMMARY JUDGMENT

Denied. The defendants confirm the Court’s error indicating ECF 29 was “deemed” the
Plaintiff's Fourth Amended Complaint.
Denied.
Admitted.
Admitted.
Denied.
Denied. The Court threatened the pro se Plaintiff with dismissal if any “new evidence”
was included in the filings.
Admitted.
Denied. Officer Involved Shooting Investigation Unit (“OISI”).
Denied. The plaintiff never revealed/disclosed any confidential information during a
Podcast. Hendershot deposition at 60, lines 4-11.
4 BY MR. JACOBS:

5 Q. And you also don't know whether or not

6| that information is publicly available, do you?

7 A. I thought it was confidential. I just
g| didn't know. I guess I was wrong.
9 Q. Oh, you were wrong. Meanwhile, I sit

10| here unémployed because you were wrong; is that

11 correct?

17

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10. Denied. Hendershot admitted Wilson retaliation against plaintiff began after the plaintiff
filed his lawsuits and before the podcast. What the evidence also shows is the Deputy
Police Commissioner of the Philadelphia Police Department, defendant Dennis Wilson,
was informed of the Philadelphia District Attorney’s Office illegal activity against the
plaintiff at the earliest in 2018 (Inspector James Smith) and at the latest between
September 2019 and November 2019. The defendant chose not to protect the plaintiff
from the illegal activity and instead decided to participate in the illegal activity against
the plaintiff by fabricating departmental violations. Hendershot Deposition at 119-122.

12 | Q. Okay. So Kia Ghee -- strike that.
13 What did Deputy Commissioner Wilson

14} order you to do as it related to Kia Ghee?

15 MR. GONZALES: Objection. Asked and

16 answered. You can answer it again.

17 THR WITNESS: In summary to get. her up
18 to speed on the allegations or assumption that
19 ADA Tripp had made against you involving the
20 grand jury leak.

21 BY MR. JACOBS:
22 Q. Did you inform Deputy Commissioner

o3| wilgen’at that time Ehat Detective Jacobs did not

24; commit a grand jury leak violation?

18

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|
i
;
| JASON HENDERSHOT 120
1 A. If my memory serves me correctly, and
2) you know this; I was with my mother on her death bed.
3) And I stepped away from my mother to advocate on: your!
4 behalf when she was dying in bed, Jake.
5 Ds Take your time. Because that's not the
6 way it occurred because both of us --
7 MR. GONZALES: Stop. Stop. Stop. Do
8 not make a statement. If you have a question,
9 you ask it. The fact that we're going where
10 we're going is ridiculous, reprehensible and
11 absolutely outrageous. So do not make a
12 statement please, sir, Do not make a
13 statement or we're going to end this.
14 MR. JACOBS: We both lost family
15 members at that time, you know that. I lost
16 my brother.
U7 MR, GONZALES: Do not insult anyone
18 here by playing the victim --
19 MR. JACOB: I'm not insulting --
20 MR. GONZALES: -- what about me. You
21 have a question, you ask the question, but
22 that's it. We don't need a statement or a
23 ‘speech to try to make us feel compassion of
24 some sort. Ask the question.

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19

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JASON HENDERSHOT 121

24)

BY MR. JACOBS:

Q. The timeline is different than what: you!

are alleging here, Lieutenant
MR. GONZALES: You're making a
statement. I said ask a question.
BY MR. JACOBS:
Q. When did Deputy Commissioner Wilson
contact you?
MR. GONZALES: About what?
MR. JACOBS: He just said at the time
he brought it up and it was during that time.
I'm going to be respectful, so that you may
put a date on the record. Because at this

time you were not a party to this litigation.’

BY MR. JACOBS:

Q. The question was, did you inform Deputy
Commissioner Wilson that Tracy Tripp -- what Tracy
Tripp was alleging did not happen? That the

Plaintiff did not leak grand jury information?

A. I did inform him of that in my opinion.

Q. Did you inform him of that in September
of 2018?

A. I don't remember the exact time. The

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JASON HENDERSHOT

122

1) time that I was just responding to was in September
2| -- sometime between September and November of 2019

3| when my mother was sick with cancer.

20

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11. Denied. This is a fabrication by the defendants. The host, not the plaintiff, cited public
news articles at the beginning of the podcast, which included the plaintiffs years of
experience and assignments. HERE ARE EXCERPTS FROM THE PODCAST.

Host Introduction: ...The murder rate in Philadelphia has skyrocketed...essentially the

decriminalization of criminal events and the support of criminals as suppose to victims...

is really brought into light here with this guest especially when it comes to political hit
jobs as it pertains to people masquerading as prosecutors...this guest brings...an officer
clearly was the subject of a political hit job...that guest being Detective Jacobs from the

Philadelphia Police Department...if I understand it correctly has over twenty years

experience as a detective in the homicide as well as the officer involved investigations
unit... Detective Jacobs welcome to search warrant.

Jacobs: Thank you for having me.

Host: There was an article that Ralph Cipriano an investigative reporter out of

Philadelphia had issued...title of the article Detective: District Attorney tampered with

witness in officer involved shooting. https://www. bigtrial.net

MONDAY, NOVEM SB EAR 9B oy 2D DB cen muse mounn ae ow ae wale RUAN ci ANU MUA AA AAAI A OSMAN He SGU a
Detective: D.A. Tampered With Witness In Officer Involved Shooting

By Raiph Cipriano
for Big Vrial.wet

Werrick "Jake" Jacobs was
one or the detectives
assigned to investigate the
2017 fatal police shooting of
dirt biker David Joncs.

The victim was black; Ryan

Pownall, the officer who Poet potit at repre es
pulled the trigmer, was by t-te ie)

white. Jacebs, who is black,
says that race played no part
in his investigation, which
exonerated the officer, neither did any supposed loyalty to his fellow cops.

“Wf its a bad shooting, there's nothing you can do about it,” said Jacobs, a veteran detective of
20 years who formerly worked homicide before he was assigned to the Philly —.D.'s Officer
Involved Shooting Investigation Unit, "The facts are the facts," the detective said, and “you

can't get around them."

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Jacobs: ...that’s why I say on November 9... I say my law enforcement career ended is
because at that point in time, which she alleged about myself ...tarnished my reputation
as an officer of the court...she say I’m leaking grand jury information, she says I’m
contempt of court, she basically saying I’m a bad cop.

Host: ...with no proof... what so ever...no proof of it.

Jacobs: ...she knew when brought...when she started this investigation with me... it was a
total farce, it was a total lie...she did it to keep me quiet...she did it to ensure my silence
until after the Pownall trial.

Host: ...what’s your status now...?

Jacobs: ...she alleges that the only reason she didn’t prosecute me is because the
transcripts of the proceedings were lost...so this is a lie...she said the transcripts of the
court proceeding were lost, so she could not proceed with the charges against me, that’s
what she told my superior...I knew no transcripts existed...at this point...she needs to be
removed...she’s the worst of the worst in our profession. We...you can’t have officers of
the court operate the way she’s operating whether it’s against a law enforcement officer
or a civilian...it doesn’t make a difference if you’re corrupt, you’re corrupt....the facts
are the facts...I do have all the knowledge of the false investigation and the proceedings
that she brought against me. I know they’re a hundred percent false.

Host: Jesus Christ... so we got a false grand jury presentment and then we have
... transcripts that are missing...what happened... ?

Jacobs: ...as fate would have it I was getting sworn into another grand jury...for when I
was a homicide detective ...while I was getting sworn in ADA Tripp was there...of course

I have zero contact... with her I don’t have too much to say to her after what she did to

22

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me and my family over the past year...or longer now...afier I’m sworn in... I’m leaving
the building and she almost chases me down to say Detective Jacobs I told your
Lieutenant that I’m withdrawing the charges against you, I told him that last week. So I
hope he had told you... to be honest with you I ignored her until she kept going on and on
and on about her withdrawing the charges against me and I Just said ok and I just date
and time stamped that conversation. Then she said I don’t think that my FOP appointed
attorney would have any problems with me communicating this information to you.
Another thing she had told my Lieutenant was that there was going to be a fake
admonishment conducted by her against me in the judge’s chambers to ensure...that I
don’t leak again, not that I ever leaked but I was gonna have the judge read me the riot
act just to scare me.

Host: ...Tripp is doing Krasner’s bidding it’s obvious that Krasner hates police
continues to try...even making this up, why couldn’t Krasner be charged with a hate
crime because he hates police...somebody pursue that angle because he’s so
inconsistent...prejudice.

Jacobs: ...I would love for the U.S. Attorney to take a look at what they are doing in that
office and they could start with my case...I’ve been an investigator for over twenty years,
I’ve worked homicide...I done ran the gambit as far as investigations...I’m sure I could
present and put together my case to have Tripp arrested...I have enough evidence for
probable cause.

Host: ...we got to reach out to McSwain, that’s the U.S. Attorney down there right.
Jacobs: ...what I can tell you is I have all the documents...my story is going to never

change...from Tripp she will probably go from here, from here, here, here...she gonna lie

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from here, here, here... she committed a criminal act against me, although I filed a civil
case against her, her acts were criminal.

Host: ...we definitely got to get a hold of McSwain...

Jacobs: ...I’ve tried...my current Commissioner who’s outgoing I reached out to her
through emails...to try and get the criminal referral because I wrote her an email Stating
that all... these attacks against me occurred while I was in the performance of my
duties...and I think I need to be protected and ....first she sent me a response saying
received sir...a two word response...then I didn’t get anything else back...then I sent a
memorandum what's called up the chain...like through all levels supervisory ...and then
it got denied ...and I got called down to...we call it the third floor in Philadelphia where
upper management and the brass lives...the deputy commissioner’s met with me and
said...they don’t want to meet with me because they don’t want to be witnesses in
this...so I follow their advice...of course I can’t file my criminal complaint with the
district attorney's office... so I suggested I go to the federal government...to the U.S.
Attorney...he said I should not...go to the Attorney General’s Office, I told him that the
Attorney General has a conflict only because the part of my lawsuit I named Attorney
General Phillips...I still attempted it, that’s what the deputy asked me to do, that’s what I
did...once that got shot down for reasons that I just explained that it’s a conflict...I’m
trying to get them now to present this to the U.S. Attorney again, and for the last month
or so I’ve been hearing crickets...so now... while I am trying to do this civil suit, I am

also trying to find out how to contact someone in the federal government to present this

criminal complaint.

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Host: ...what you described... cannot go on. This is a manipulation of the criminal
Justice system in a major U.S. city that cannot go on...because it adversely impacts the
ability of law enforcement to do their job...you got people becoming victims of political
vindictiveness this certainly fits in the arena of that with ... the head is corruption you
can't put up with it...we can’t put up with it anymore...and we’ll pursue what we can ...I
Just thought of another entity on the federal level is very interested in what you just
described.

Jacobs: ...I appreciate any help you can provide honestly...you don’t want to look at it
like this because it’s the district attorney’s office...but when you operate it with all of the
corruption...it’s almost like a criminal enterprise.

Host: ...exactly it’s a RICO situation...false grand jury presentments and bulls*t
transcripts missing...they’ll invent sh*t I suppose...that’s what she’s done

Jacobs: ...here’s the thing she also said ... that questions her ethics if what’s she’s telling
my lieutenant is true then she’s been having ex parte conversations... with the judge
about my case without me or my attorney present while these decisions were taking
place...I’ve never heard of that happening...I’ve already spoke with the ethics board and
I relayed this information to them...if these conversations took place either she lied...if
I’m a betting man I would say that she lied because I can’t see a Judge entertaining this
nonsense but who knows.

Host: ...it should blow your average citizen’s mind...you’re susceptible to this...you’re
susceptible to having someone come up with a... false grand jury presentment and jam
you up...you got people running the show that can put out false grand jury presentments

and that’s gotta end.

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Jacobs: ...who’s to say... if I didn’t have my I’s dotted and my T’s crossed...if my face
wouldn't be on the news being indicted for contempt of court...they want to silence me
and I’m sure they’re upset they failed...she represents a clear and present danger to the
City.

After reviewing the above excerpts from the podcast; how could defendant Dennis
Wilson not recall any of the podcast statements when he listened to it? How could
defendant, DF Pace not remember when he listened to the podcast the plaintiff

referencing his litigation?

12. Denied. Below excerpt from podcast.

13.

Host: ...what you described... cannot go on. This is a manipulation of the criminal
Justice system in a major U.S. city that cannot go on...because it adversely impacts the
ability of law enforcement to do their job...you got people becoming victims of political
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corruption...it’s almost like a criminal enterprise.

Denied. Below excerpt from podcast

Jacobs: ...that’s why I say on November 9... I say my law enforcement career ended is

because at that point in time, which she alleged about myself ...tarnished my reputation

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as an officer of the court...she say I’m leaking grand jury information, she says I’m
contempt of court, she basically saying I’m a bad cop.

Host: ...with no proof... what so ever...no proof of it.

Jacobs: ...she knew when brought...when she started this investigation with me... it was a
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until after the Pownall trial.

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transcripts of the proceedings were lost...so this is a lie...she said the transcripts of the
court proceeding were lost, so she could not proceed with the charges against me, that’s
what she told my superior...I knew no transcripts existed...at this point...she needs to be
removed...she’s the worst of the worst in our profession. We...you can’t have officers of
the court operate the way she’s operating whether it’s against a law enforcement officer
or a civilian...it doesn’t make a difference if you're corrupt, you’re corrupt....the facts
are the facts...I do have all the knowledge of the false investigation and the proceedings
that she brought against me. I know they’re a hundred percent false.

Admitted. Below excerpts from podcast

Host: ...exactly it’s a RICO situation...false grand jury presentments and bulls*t
transcripts missing...they’ll invent sh*t I suppose...that’s what she’s done

Jacobs: ...here’s the thing she also said ... that questions her ethics if what’s she’s telling
my lieutenant is true then she’s been having ex parte conversations... with the judge
about my case without me or my attorney present while these decisions were taking

place...I’ve never heard of that happening...I’ve already spoke with the ethics board and

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I relayed this information to them...if these conversations took place either she lied...if
I’m a betting man I would say that she lied because I can’t see a Judge entertaining this
nonsense but who knows.

Host: ...it should blow your average citizen’s mind...you’re susceptible to this...you’re
susceptible to having someone come up with a... false grand jury presentment and Jam
you up...you got people running the show that can put out false grand jury presentments
and that’s gotta end.

Jacobs: ...who's to say... if I didn’t have my I’s dotted and my T’s crossed...if my face
wouldn’t be on the news being indicted for contempt of court...they want to silence me
and I’m sure they’re upset they failed...she represents a clear and present danger to the
City.

Denied. This was an “external” order from Krasner to retaliate against the plaintiff. There
was never an “internal investigation.” Wilson stated he listened to the podcast and knew
immediately the plaintiff violated policy. When asked what the plaintiff stated on the
podcast Wilson could not recall. When asked what policy the plaintiff violated Wilson
stated it doesn’t matter. How after listening to the podcast, Wilson did not recall this
below excerpt.

Jacobs: ...I’ve tried...my current Commissioner who’s outgoing I reached out to her
through emails...to try and get the criminal referral because I wrote her an email stating
that all... these attacks against me occurred while I was in the performance of my
duties...and I think I need to be protected and ....first she sent me a response saying
received sir...a two word response...then I didn’t get anything else back...then I sent a

memorandum what’s called up the chain...like through all levels supervisory ...and then

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it got denied ...and I got called down to...we call it the third floor in Philadelphia where
upper management and the brass lives...the deputy commissioner’s met with me and
said...they don’t want to meet with me because they don’t want to be witnesses in
this...so I follow their advice...of course I can’t file my criminal complaint with the
district attorney’s office... so I suggested I go to the federal government...to the U.S.
Attorney...he said I should not...go to the Attorney General’s Office, I told him that the
Attorney General has a conflict only because the part of my lawsuit I named Attorney
General Phillips...I still attempted it, that’s what the deputy asked me to do, that’s what I
did...once that got shot down for reasons that I just explained that it’s a conflict...I’m
trying to get them now to present this to the U.S. Attorney again, and for the last month
or so I’ve been hearing crickets...so now... while I am trying to do this civil suit, I am
also trying to find out how to contact someone in the federal government to present this
criminal complaint.

How could DF Pace not recall the plaintiff discussing his litigation? The only thing he
recalls is the plaintiff stating criminal enterprise and clear and present danger. He can
only recall what Krasner and Wilson ordered him to recall. Neither Wilson, Pace, or
Hendershot could indicate what policy the plaintiff violated during their four minute
investigation. See above excerpts from podcast.

Denied. Plaintiff alleges the disciplinary charges were a result of his reporting of public
corruption and matters of public concern and the subsequent filings of lawsuit(s).
Hendershot admitted during the deposition he advocated on the plaintiffs behalf “prior to

the podcast” to keep Wilson from immediately retaliating against the plaintiff.

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JASON HENDERSHOT 120

A. if my memory serves me correctly, and
you know this; I was with my mothex on nér death beady
And I stepped away from my mother to advocate on your
behalf when she was dying in bed, dake.

Q. Take your time. Because that's not the

An UW fF WwW NH H

way it occurred because both of us --

JASON HENDERSHOT 122

1 time that I was just responding to was in September
2 -- sometime between September and November of 2019

3) when my mother was sick with cancer.

17. Denied.

18. Denied. Rule 56. Based upon the clearly disputed facts with supporting documentation
contrary to the defendants’ assertions. The defendants are not entitled to summary
Judgment.

19. Admitted. There is not one material fact in the record that entitles the defendants to
summary judgment.

20. Denied. Clearly the plaintiff has presented “specific facts” disputing the defendants’
assertions. Furthermore, if a motion for summary judgment is to be GRANTED, it should
be granted in favor of the plaintiff.

21. Admitted?

22. Admitted?

A. The defendants have not made a showing sufficient for an entry of summary
judgment in their favor. On the contrary, the defendants’ argument

substantiates the granting of summary judgment in the plaintiff's favor.

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23. The plaintiff has proven he engaged in a constitutionally protected conduct; the
defendants took action sufficient to deter an ordinary person from engaging in such
conduct; and a causal connection between the two. Palardy v. Township of Millburn, 906
F.3d 76, 80-81 (3 Cir. 201 8). The plaintiff has clearly established the above.

24, Admitted?

25. Admitted? Also see Javitz v. City of Luzerne (3 Cir. 201 9) where specifically Javitz
learned of the public corruption as a result of her employment.

26. Admitted?

27. Admitted.

28. Denied. The plaintiffs speech on the podcast addressed his litigation for violation of his
constitutional rights and the criminal activity at the Philadelphia District Attorney’s
Office. The defendants’ argue it interfered with the employer’s interest but the
defendants never notified Coulter or Outlaw of the disciplinary actions against the
plaintiff, Both Philadelphia Police Commissioner Coulter and Philadelphia Police
Commissioner Outlaw indicated the defendants never informed them of the disciplinary
actions/retaliation perpetrated on the plaintiff; Commissioner Coulter testified during her
deposition (Jacobs v. City of Philadelphia 19-cv-4615) she could think of no reason she
would not be notified of the disciplinary actions perpetrated against the plaintiff: Coulter
further stated she never had any knowledge of the plaintiff doing anything to undermine

the reputation of the Philadelphia Police Department.

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Departmental and Criminal violations by Command Staff

Danielle. cata <Danielle. ‘Outlaw@phila. sou
To: Derrick Jacobs <derrickjacobs9116@gmail.com>
Ce: Patrick Quinn <Patrick,Quinn@phila.gov>

Detective Jacobs,

Thank you for forwarding to me your memorandum dated August 3, 2020.

‘Wed, ae 26, 2020 at 4:51 PM

| understand from that correspondence that

you sent an earlier mernorandum to me, bul | did not receive it. After looking into the issues raised by your
memorandum, | learned that you filed a lawsuit against the City of Philadelphia, the District Attorney’s Office, District
Attorney Lawrence Krasner, and Assistant District Attorney Tracy Tripp. Because the issues raised by your memorandum
are the subject of pending litigation, am unable to comment further. Please direct ali future inquiries to Jennifer
MacNaughton, Esq., City of Philadelphia Law Department (Jennifer. MacNaughton@Phila,goy).

Very Sincerely,

Danielle M. Outlaw

Police Commissioner
Philadelphia Police Department
750 Race Street, Roan: 314
Philadelphia, PA 19706

(P) 215.686.3367

(F) 215.625.0612

9 BY MR. JACOBS:
10 Q. Have you ever seen any incident
11. involving Detective Jacobs on T.V.?
12 A. No, | haven't.
13 Let me rephrase that.
14 in your years as botha
15 homicide investigator and the Officer
16 Involved Shooting Team, I'm sure there have
17 been times where you have been on television.
1s BY MR. JACOBS:
13 Q. Yes. Let me rephrase.
20 Have you ever seen Detective
21 Jacobs on television disparaging the
22 Philadelphia Police Department?
23 A. lI have not.
24 Q. Have you ever heard of Detective
Deputy Commissioner Christine M. Coulter
April 28, 2022
Page 87
1 Jacobs violating policy that disparaged the
2 Philadelphia Police Department?
3 A. Ihave not.

Former Philadelphia Police Commissioner Christine Coulter April 28, 2022 deposition

Page 86, lines 10-24 and Page 87 lines 1-3. Jacobs v City of Philadelphia 19-cv-4615

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ig Q, Did Deputy Police Commissioner
i9 Wilson inform you that he was initiating a
20 disciplinary investigation against Plaintiff
21 Jacobs?

22. A. He did not.

Former Philadelphia Police Commissioner Christine Coulter April 28, 2022 deposition,

page 59, lines 18-22. Jacobs v City of Philadelphia 19-cv-4615.

Denied. There is not a scintilla of information in the record of an issue with grand jury

confidentiality or a breach in the working relationship with District Attorney’s Office.

Furthermore, the defendants never notified the Police Commissioners of the retaliatory

disciplinary actions taken against the plaintiff.

Denied. The defendants have not presented any evidence supporting this claim. On the

other hand, the plaintiff has presented evidence of corruption and the plaintiff has

presented evidence of constitutional rights violations.

B. The defendants are not entitled to summary judgment in their favor regarding
the Plaintiff's 1983 Conspiracy claim. On the contrary, the plaintiff has proven
the defendants acted in concert in the retaliation against the plaintiff.

The plaintiff has clearly showed the defendants acted in concert to deprive the plaintiff of

constitutionally protected rights.

Defendant entered into an agreement with defendant Hendershot initially to violate the

plaintiff's sixth amendment right to counsel when she learned of the plaintiffs attempts

to expose her criminal activity. Defendant Tripp then initiated a criminal proceeding
against the plaintiff without probable cause. Defendant Wilson initiated a retaliatory
disciplinary action against the plaintiff when he attempted to publicly expose corruption.

The plaintiff has provided evidence showing the defendants have achieved a “meeting of

the minds.

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The plaintiff have met this burden

The plaintiff has clearly established constitutional rights violations.

There is a plethora of evidence supporting the plaintiffs claims.

The record is undisputed the plaintiff engaged in a protected activity. The defendants

initiated an action to deter an ordinary person from that activity.

C. Defendants are not entitled to summary judgment in their favor regarding the
Plaintiff's Pennsylvania Whistleblower Law claim

The relevant portions of the Pennsylvania Whistleblower Law are § 1421-1428

The plaintiff clearly showed he engaged in a protected activity by consulting with an

attorney to ascertain the best avenue for reporting criminal activity and corruption.

Defendant Tripp learned of that consultation and initiated a fabricated criminal

proceeding to deter the plaintiff from engaging in that protected activity. The proceeding

was initiated without a legitimate person and never rose above the administrative level.

The plaintiff prevailed in the criminal proceeding. The plaintiff also requested protections

from numerous public officials as a result of his attempts to report public corruption.

The plaintiff has shown and the defendants have admitted to the causal connection

between the plaintiffs protected activity and defendants’ retaliation.

The plaintiff has clearly established the defendants’ violations of his constitutional rights.

The plaintiff has proven by a preponderance of the evidence presented there was not a

separate reason, other that retaliation, for the actions against the plaintiff.

The plaintiff clearly has reported waste and wrongdoing and there is no evidence to the

contrary.

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44. The plaintiff has specified the alleged waste and wrongdoing committed by the

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defendants.

The defendants waste a wrongdoing reported by the plaintiff is clearly documented.

The plaintiff has submitted “concrete facts” is support of his claims.

The defendants have not placed any facts into the record in support of the plaintiff's
termination/constructive discharge

The plaintiff allegations are supported by factual documentation.

Denied. The podcast excerpts clearly showed the exhaustive efforts of the plaintiff to
numerous officials to report on matters of public concern. The defendants retaliation
against the plaintiff began well before the podcast.

Denied. Four (4) minutes for entire investigation. Google 2018 Philadelphia Police

Department Budget Testimony. https://phlcouncil.com/wp-content/uploads/2017/04/FY18-

Police-Budget-Testimony-final-4.12.17.pdf The defendants have proven there was zero

investigation. The defendants have proven this was retaliation against the plaintiff for his
execution of his constitutional rights. Defendant Hendershot authored a fabricated email
to Chief Inspector Frank Vanore on March 4, 2020. Hendershot, knowing the plaintiff
could not return to work without being terminated was observed calculating the
remaining vacation, sick, holiday hours of the plaintiff. After the calculation defendant
Hendershot learned the plaintiff would run out of time in March 2021 and placed that
information into the email to Vanore. Hendershot fabricated the email indicating the

plaintiff intended to “run time” and leave the Philadelphia Police Department in March

2021.

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Detective Jacobs' status

Jason Hendershot <Jason.Hendershot@Phila.gov>
Weel 3/6/2620 349 PM

To: Frank Vanore <Frank. Vanore@phila.gov>

Good afternoon Chief Inspector Vanore,

Just wanted to keep you informed about Detective Jacobs’ status:

For the last two (2) months or so, Detective Jacobs has mentioried on several occasions that
he intends to "run time” for a year and then retire. He never committed to a date, but
indicated that It would be in March. | informed Detective Jacobs that he would have to
officially request to "run time” and when he was ready to officially do so, | would make the
appropriate request through the chain-of-command.

In February, | informed Detective Jacobs that | was going to take him off of the "wheel",
because | could not allow him to be the lead investigator on an OIS, Detective Jacobs
understood and agreed that he should not be the lead investigator going forward, due to him
getting ready. to "run time”.

in February, Detective Jacobs received 75-18s for violation of departmental policy. He
pleaded not guilty and requested a hearing. Since that point, he believed that he was being

“targeted” by the PPD.

On February 25, Detective Jacobs informed Sgt. Farrell that he was off sick and was unsure of
when he would return to work. Detective Jacobs was carried sick and as of today (3-4-2020)
has not returned to work. Since he has been off sick for more than 9 consecutive calendar
days, | contacted him and Informed him that he needed to provide me with a sick note, and
that in order for him to return to work, he would have to be seen by a doctor at 19th &
Fairmount. At this point, during our phone conversation, Detective Jacobs informed me that
he was 1OD from stress, caused by the PPD. In addition, Detective Jacobs informed me that
he had filed another lawsuit against the PPD, including PC Outlaw, pertaining:to his 75-18s,
At this point, | informed Detective Jacobs that ! would look into whether or not stress is
something an employee can be carried as 1OD.

| contacted the Safety Office and stress does not fall under 1OD. Detective Jacobs remain in
sick status until cleared to return to duty by the city doctor at 19th & Fairmount.

| relayed this information to Detective Jacobs and it was obvious that he was documenting
the information being relayed to him. | say that because he asked who the C/O of the Safety

Office was. Detective Jacobs stated that he was going to submit a doctor's note and
memorandum, requesting to be carried IOD. He added that he wanted the disapproval in

writing.

As of now, | have not received his sick note or his memorandum.

Lastly, | do not believe that Detective Jacobs should remain assigned to the OJSi Unit for now.
He has given every indication that he does not plan on being assigned to the unit long-term.
In addition, his claim about being under intense stress would render him incapable of

participating in an OIS investigation.

lam respectfully requesting that Detective Jacobs be detailed to another unit within the
bureau, until he is fit for duty and cleared by the city doctor.

lf approved, | am respectfully requesting that a detective be detailed in to the O1S! Unit, in his
absence.

Jason

Lt. Jason Hendershot #148

Philadelphia Police Department
Officer-Involved Shooting Investigations
Office #215-683-1866

Cell # 215-410-1829

The above document is a complete fabrication and never occurred. During Hendershots’

deposition I asked counsel for the computerized access records of the plaintiff's payroll

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to prove Hendershot was accessing the records on a weekly/bi-weekly basis and
calculating when the plaintiff would run out of his accrued sick/vacation/holiday time and
the defendants’ retaliation plan of constructively discharging the plaintiff would end. The
defendants have refused to provide this evidence in discovery. When I filed a motion to
compel defendants of this discovery, the court denied the plaintiff the access to the
evidence proving the plan to “constructively discharge” the plaintiff from his
employment a year earlier. The Court deemed the evidence request not relevant.

Denied.

PLAINTIFF’S OPPOSITION/RESPONSE TO DEFENDANTS DENNIS WILSON, DF

PACE, AND JASON HENDERSHOT BRIEF IN SUPPORT OF THEIR MOTION FOR

II.

Ill.

IV.

SUMMARY JUDGMENT

Relevant Background

The plaintiff incorporates the above listed facts as if fully set herein.
Plaintiff disputes the defendants’ relevant background

Statement of Facts

The plaintiff incorporates the above listed facts as if fully set herein.
The plaintiff disputes the defendants Statement of Undisputed Facts.

Statement of Issues Presented

The plaintiff incorporates the above listed facts as if fully set herein.

The plaintiff disputes the Statement of Issues as represented by the defendants.

Standard of Review

The plaintiff incorporates the above listed facts as if fully set herein.

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V.

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Argument

A. Defendants are not entitled to judgment in their favor as they relate to

Plaintiff’s First Amendment Retaliation claims.

The plaintiff was engaged in a constitutionally protected action. The defendants

engaged in conduct that would deter an ordinary person from engaging in that

constitutionally protected conduct. The defendants have admitted to the causal
connection between the constitutionally protected conduct and the defendants’
retaliatory action.

i. Plaintiff engaged in constitutionally protected conduct when he discussed
his litigation during the podcast. The plaintiff only discussed publicly
available information during the podcast. The defendants have not
presented any evidence to the contrary. The plaintiff also spoke about a
matter of public concern during the podcast. The plaintiff only discussed
his litigation and publicly available information of the podcast. The host,
not the plaintiff, recited the plaintiff credentials at the outset of the podcast

from the information obtained from the November 18, 2019 BigTrial.net

article.

MONDAY, NOVEMBER 18, 2OVS oe me vam
Detecti D.A, Tampered With Witness In Officer

By Ralph Cipriano
for Big Trialmet

errick “Jake" Jucobs was
one or the detectives
assigned to investigate the
2017 Fatal petlice shoeting off
dirt bilcer david Jones.

The victim was black; Ryan
Pownall, the officer who
pulled the trigger, was
Avhite. Jacobs, who is black,
says that race played no part
in his investigation, which
exonerated the officer; neither did any supposed loyalty to his fellow cops.

"Le it's a bad shooting, Usere’s nothing you can do about it," said Jacobs. a veteran detective of
20 years who formerly worked homicide before he was assigned to the Philly PD's Officer
invotved Sheoting Investigntion Unit. "Phe ficts are the fhets," the detective said, anc “yout

cant get around them."

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The confidential “staffing levels” the plaintiff discussed can publicly be

located at the following location —_https://phlcouncil. com/wp-

content/uploads/2017/04/F Y 18-Police-Budget-Testimony-final-

4.12.17.pdf. When defendant Hendershot was confronted with this

information, during his deposition, he provided the following response..

4 BY MR. JACOBS:

5 Q. And you also don't know whether or not)
6} that information is publicly available, do you?

7 A. I thought it was confidential. I just
8 didn't know. I guess I was wrong.

9 Q. Oh, you were wrong. Meanwhile; I sit

10; here unemployed because you were wrong; is that

11} correct?

Hendershot deposition page 60, lines 4-11.

So now that it has been established the defendants’ fabrication of the
plaintiff identifying himself at the outset of the podcast as a detective with
many years of experience at the outset is a lie. It has also been established
the defendants’ fabrication of the plaintiff revealing confidential
information to the public is a lie. Therefore, what is unequivocal is the
defendants are liars trying to cover up their corruption and criminal
activity. Now let’s tackle the plaintiff speaking as a private citizen. The
Philadelphia Police Department’s Social Media Policy (Directive 6.10)

states the following:

G. Employes who are off-duty. and using privately-owned property to engage in thie >
personaluse ofsocial media. da not represent the City oF Philadelphia, the Philadelphia
Police Department. or any official positien niaintiined by cither entity. Onder such *
conditions, employees represent only themselves and their persanal interests,

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The defendants had a plan as indicated by defendant Hendershot’s memo
to Chief Inspector Frank Vanore four (4) minutes after the plaintiff signed
his interview. The decision to discipline the plaintiff was made long before
the interview. The plan was to “lock” the plaintiff into the word “podcast”

and “staffing levels.”

Good afternoon Chief inspector Vanore,
| interviewed Detective Jacobs today and attached his interview for your review.

| kept the interview focused on whether or not he had permission to participate in the
Podcast and whether or not he had permission to divulge staffing levels in our Unit.

Their plan had two flaws. One, the “staffing levels” were already public.
Two, they did not expect the plaintiff to answer honestly to the word
“podcast” (which was new to the plaintiff) and include defendant Wilson
as the Commissioner’s “designee” allowing the plaintiff to go public with

his corruption allegations.

Q. Did you obtain approval from the Police Commissioner or her designee to participate
in this Podcast?

A. No, not for a Podcast; however, I received permission from Deputy Commissioner
Wilson during a conversation | had with him in his office on November 26 2019, to go
public with my corruption allegations.

The decision to discipline the plaintiff was already made. The defendants
have not placed any evidence in the record to refute the plaintiffs
interview that he received permission from the Commissioner’s designee,
Deputy Police Commissioner Dennis Wilson, on November 26, 2019
(prior to the podcast), to go public with his public corruption allegations.
The defendants were asked multiple times during their depositions if this

fact was ever reconciled and they all responded that it was not. Wilson’s

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il.

credibility is beyond repair after multiple lies told to the public. Next, the
defendants’ argument indicating the plaintiff's reporting of corruption on
the podcast, threatened the working relationship with the District
Attorney’s Office is without merit. There is zero evidence in the record to
support such a claim. On the contrary, both former Philadelphia Police
Commissioners indicated they were never informed of the defendants’
nefarious activity. If there was a “workplace” environment issue, why did
Wilson inform the plaintiff he could not stop the “victimization” of the
plaintiff by the District Attorney’s Office? The plaintiff discussed criminal
actions committed against him and his pending litigation. This is clearly a
matter of public concern. See Javitz (3 Circuit 201 9).

Plaintiff was charged, investigated, and constructively discharged based
upon his constitutionally protected free speech during the podcast.

The plaintiff clearly discussed the retaliatory actions of the defendants as a
result of him reporting corruption. The defendants have retaliated against
the plaintiff every time the plaintiff attempted to expose the corruption by
these public officials on matters of public concern. On September 27,
2018 (fabricated grand jury leak). On November 18, 2019 (communication
shut down and threatened vehicle confiscation). On January 18, 2020
(disciplinary action and charges). On March 5, 2020,(vehicle
confiscation). On April 21, 2021(criminal investigation Philadelphia

Police Department). Hendershot’s own documentation proves there was

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never an “investigation.” He informed Vanore four (4) minutes after
interviewing the plaintiff he would be requesting disciplinary charges.

ili. Defendant Wilson was intimately involved in the retaliation against the
plaintiff, Wilson NEVER listened to the podcast and was ordered to
conspire to terminate the plaintiff's employment by Krasner. Wilson said
he listened to a podcast that was not publicly available. When asked what
the plaintiff said on the podcast that warranted him to initiate a
disciplinary investigation, Wilson could not provide an answer. That is
because he never listened to the podcast. How could Wilson listen to the
podcast by January 21, 2020 and request disciplinary action against the
plaintiff before the Philadelphia Police Department received the CD on

January 24, 2020.

Lt. Hendershot ~

Friday, January 244, 2OZO

Not yet. However |lwas off
yesterday and have court —
today.

Heading to the Office in a few.
If it’s On my desk I will text
you right back and see what

we cam set up D4 AM

Read by 7
Died yr AM

Nothing im the inbox,
regarding an Action and
Report.

Maybe there won't be one.

=

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From: leson Hendershat

Tor Kia Ghee

Subject: FW: Action and report

Date: Tuesday, January 28, 2020 2:42:51 PM

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Sent via the Samsung Galaxy $7, an AT&T 4G LTE smartphone

cones Original message --------

From: Jason Hendershot <Jason.Hendershot@Phila,gov>
Date: 1/24/20 2:46 PM (GMT-05:00)

To: Nicole Judge <Nicole.Judge@Phila.gov>

Subject: RE: Action and report

{ can swing by Monday morning on my way in and pick it up if that's okay
Sent via the Samsung Galaxy $7, an AT&T 4G LTE smartphone

oaneenee Original message --------

From: Nicole Judge <Nicole Judge@Phila.gov>

Date: 1/24/20 2:45 PM (GMT-05:00)

To: Jason Hendershot <Jason, Hendershot@Phila.gov>
Subject: Action and report

Lt,

Ihave the CD in reference to Det Jacobs interview. I will have it in the office if you can get
someone to pick it up.

Thank you,

Sgt. Nicole Judge #8563
Detective Bureau

Question, how could Wilson listen and request disciplinary action against
the plaintiff on January 21, 2020 when the Philadelphia Police Department
did not receive the CD of the podcast until January 24, 2020? Here is
another fabrication by defendant Henershot playing “both sides.” Clearly
the text between the plaintiff and Henershot indicated the request was
before the receipt of the CD and it was requested by Wilson. In an email to
Vanore on January 27, 2020, he indicates to Vanore he never informed the

plaintiff it was Wilson requesting the disciplinary action. If that is the case

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why would the plaintiff be asking Hendershot on January 24, 2020 if he

had received the action and report from Wilson.

__ Email from Jacobs to D/C Wilson

Jason Hendershot <Jason.Hendershot@Phila.gov
Mon 1/27/2020 10:33 A¥s

To: FrankVafiore <FrankVanore@phila.gov>

@ latiacuwens 19)

Jacobs email to DC Wilsoa.odf:
Chief Inspector Vanore,

| handed Detective Jacobs a notice of his interview, regarding his Podcast, which is scheduled
for Thursday, January 20th at LOAM,

Upon handing him his notice, he handed me a3 page letter, addressed to D/C Wilson. Jacobs
informed me that he had emailed the letter to D/C Wilson directly,

Note: | never informed Jacobs that D/C Wilson was taking disciplinary action him, | informed
Jacobs that | would be conducting en interview in reference to the Podcast. page two, last
paragraph, Jacobs states that /C Wilson ordered him not to communicate any matters to

the DAO, Thatis not accurate. { ordered Jacobs NOT to. communicate with the DAO,
regarding any matter, via email, without my knowledge or permission.

If Wilson did not request disciplinary against the plaintiff on January 21,
2020, who did? The only parties in the Philadelphia Police Department
with knowledge on January 20, 2020, were the plaintiff and defendant
Hendershot.

B. Defendants are not entitled to summary judgment in their favor as to

Plaintiff’s 1983 Conspiracy claim
The plaintiff incorporates the above listed facts as if fully set herein

The defendants clearly acted in concert to deprive the plaintiff of his

constitutionally protected rights.

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C. Defendants are not entitled to summary judgment in the favor as to

Plaintiff’s Pennsylvania Whistleblower Law claim.

On October 4, 2019, prior to serving the defendants with this complaint, the

plaintiff asked then Police Commissioner Christine Coulter for Whistleblower

protections from retaliation. Defendant Hendershot also testified the plaintiff had

numerous conversations with him regarding the pending retaliation from the

District Attorney.
21 Prion to the.
22
23 he ae,
24| by District Attorney larry Krasner?
JASON HENDERSHOT 111
1 A. I don't remember the exact words. that:
2| we spoke of, but I do remember having conversations
3| ‘con
4| what was said, I could not:
5} that's my answer! T don't remember exactly what” we
6| ‘spol y time.

Hendershot deposition page 110, lines 21-24 and page 111, lines 1-6

Clearly the plaintiff made “good faith” reports of corruption, including several to

his Commanding Officer, Hendershot.

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il.

Plaintiff was clearly a whistleblower and retaliated against as a result.
Plaintiff made numerous good faith reports to multiple superiors. The
plaintiff, prior to September 27, 2018, was a decorated and highly
respected Law Enforcement Officer. Immediately upon defendant Tracy
Tripp learning of the plaintiffs consultation with an attorney attempting to
report the District Attorney’s Office corruption, the plaintiff's law
enforcement career spiraled out of control into the abyss.

The charges against the plaintiff were clearly a result of him being a
whistleblower and the defendants clearly violated PA Whistleblower Law.
The defendants conducted an investigation that lasted less than four (4)
minutes. The results of the one interview “investigation” culminated with
the charge of Conduct Unbecoming an Officer. The penalty includes

TERMINATION.

SUPPLEMENTAL FACTS IN SUPPORT OF THE PLAINTIFF ARGUMENT

IN OPPOSITION OF THE DEFENDANTS’ MOTION FOR SUMMARY

JUDGMENT

1. Credibility

a. Tracy Tripp: Tripp presented fabricated documents during the deposition of

the plaintiff. Tripp attributed the documents to the plaintiff. When the plaintiff
requested the fabricated documents, Tripp has now claimed “privilege”
because the relate to the Twenty-Ninth Investigating Grand Jury, which the
plaintiff was approved by Judge Robert Coleman to view after being sworn

into the grand jury as a sworn law enforcement officer. After stating she was

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informed by Detective Newell the grand jury presentment was incorrect,
Tripp’s attorney (David Smith) violated Hall v. Clifton Precision numerous
times, directing the witness not to answer without asserting a privilege.

14 BY MR. JACOBS:

15 Q. Did Detective Brian Newell, who was the

16 investigation in the officer -- in the Ryan

7 Pownall officer-involved shooting, did he ever
18 tell you the facts that were contained in the
19 grand jury presentment were incorrect?

20 A. He told me he believed they were incorrect --

21 some of them were incorrect.

Tripp deposition page 124, lines 14-21

4 What did you do after Detective Newell told

§ | you the facts as he understood them and the grand
6 jury presentment were incorrect?

7 MR. SMITH: Objection. Direct the
8 witness not to answer.

9 BY MR. JACOBS:
10 Q. Did you do anything after Detective Newell

11} told you the grand jury presentment was incorrect?

12 MR. SMITH: . Object

13 witness not to answer.

14 BY MR. JACOBS:

15. Q. Did you attempt to reconcile the

16 inconsistencies Detective Newell brought to your
17| attention?

18 MR. SMITH: Objection. Direct the
19 Wittiées not tollanswer?

20 BY MR. JACOBS:

21 Q. So, wé just going to “let a Philadelphia Police
22 Officer who almost got killed, go to jail because

23 the District Attorney wants him to; is:that

24 correct?

Tripp deposition, page 125, lines 4-24

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15) Q. Did Larry Krasner fulfill a campaign promise
16} by locking up Philadelphia Police Officers?

17 MR. SMITH: Objection. Direct the
18 witness not to answer.

19 BY MR. JACOBS:

20, Q. That's why Detective Jacobs is sitting he:
21 right, because District Attorney Larry Krasner
22; told you to initiate the criminal charges that was

23) brought against Detective Jacobs; is that correct?

24 MR. SMITH: Objection. Direct the

Tripp deposition page 126, lines 15-24

1 witness not to answer.

2 BY MR. JACOBS:

3 Q. The xreason Detective Jacobs is sitting here is
4 because he was exposing corruption at the District
5| Atborney's Office; is that <orrect?

6 MR. SMITH: ction. Direct the
7 witness not t6 answer)

8 BY MR. JACOBS:

9 Q. Because everyone you spoke to regarding

10 Detective. Jacobs told you he was an outstanding

Li investigator; is that correct?
12 MR. SMITH: Objection. Direct the
13 witness not to answer.

Tripp deposition page 127, lines 1-13
b. Dennis Wilson: Wilson has allowed Philadelphia Police Officers to be
transferred and/or arrested on orders from Larry Krasner. The plaintiff

attempted to address Wilson’s credibility issues but was denied by the Court.

1s 2 Who transferred Chie£L Inspectoxr Kelly?

LG AB Wiltimately the commissioner would do that,
L‘7 but a decision was made to make changes in, the upper
18 command and that's something we always did. That

LO wasn't my decision.

20 Q Who made that. decision?

22 A Etmimot sure That would witimately be

Be the police commissioner, like I said. Commissioner
23 would move a chief inspector. The department is not
wa going to move a chief unless the commissioner agrees

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20] «== DESEFLeE AREoERey Keasner oxaer you 'to

21; transfer Chief Inspector Kelly?

22 MR. GONZALES: Objection.
23 MR. SMITH: Objection.
24 MR. GONZALES: I'm instructing him not to

Wilson deposition page 162, lines 20-24

1 answer. That has nothing to do with your case.
2 BY MR. JACOBS:
3 Q Did District Attorney Kranser order you to

4. transfer Inspector Smith?

5 MR. SMITH: Objection.

6 MR. GONZALES: Objection. This has
7 nothing to do with your case. Just ask
8 questions about your case.

Wilson deposition page 163, lines 1-8

Wilson was the Deputy Police Commissioner of Investigations. In 2018 after
the confrontation with Tripp and Cummings over the illegal Pownall arrest
and the retaliation against the plaintiff from the Officer Involved Shooting
Investigation Unit (“OISI’), Wilson transferred Chief Inspector Kelly and
Inspector James Smith on orders from Krasner as a result of their support for
the plaintiff. Wilson would have you believe he did not participate in their
transfer, which is why he would not provide the plaintiff's superiors with the
reasoning for their transfer. Wilson made the following statement, a lie,
during the press conference on June 25, 2020 “On June I I was the incident
commander ...I was on-site, I and I alone gave the approval to...to use CS gas.

I did this based upon what I could see. We had several conversations. I knew

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the rules of engagement. Commissioner Outlaw wanted me to call her prior to
using any CS gas. I did that at 52" and Market. I did not do that during the
protest on 676. Things happened quickly, I didn’t call the Commissioner, I
gave the approval and it was me and me alone like, like I said. For that, For
violating the rules of engagement and the Commissioner’s trust I am going to
take a voluntary demotion to my previous civil service rank which is Chief
Inspector and I believe that’s going to happen immediately...and that’s what I
have Commissioner.” During defendant Wilson’s deposition, the plaintiff
recited Wilson’s press conference statement with the following questions.

Was that a true statement then? Is that a true statement now? The defendants

stopped the deposition.

4 Q. How long before you approved

S the use of tear gas, were you in

6 communication with Police Commissioner
7 Outlaw?

8 A. Immediately before, but I'm not
9 exactly sure of the time.

Wilson Deposition April 4, 2022, lines 4-9 Jacobs v, City of Philadelphia 19-

cv-4615

The Court issued an Order denying the plaintiff the opportunity to obtain
justice by displaying Wilson “complete” role in the retaliation against the
plaintiff and his “clear lack of credibility.” Wilson intentional lies allowed

Krasner and Danielle Outlaw (“Outlaw”) to illegally arrest Richard Nicoletti

Ul.

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After the PPD conducted a fabricated retaliatory “internal” investigation by
defendant DF Pace on orders from Krasner, Richard Nicoletti II] was arrested
and terminated. Once again, Wilson denied any involvement in the “internal”

investigation of Nicoletti which led to disciplinary charges for not violating

any departmental policy.

17 Q. Was SWAT Officer Nicoletti
18 disciplined for any reason?

19 A. Yes.

Wilson Deposition April 4, 2022, page 32, lines 17-19 Jacobs v. City of

Philadelphia 19-cv-4615

13 BY MR. JACOBS:

14 Q. What is the departmental policy
15 for the application of pepper spray to
16 a person or persons wearing goggles or
17 a mask?

18 A, The SOP at SWAT contradicts the
19 fact that he failed to follow policy,
20 if that's where you're going with

21 this.

22 SWAT's own SOP says that he did
23 the right thing.

Wilson Deposition April 4, 2022, page 33, lines 13-23 Jacobs v. City of
Philadelphia 19-cv-4615
So if SWAT’s own SOP says he did the right thing, how did DF Pace’s

“internal” investigation say he did the wrong thing?

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BY MR. JACOBS:

Q. And when you say SOP, that

means standard operating procedure.
Is that correct?

A. VQ x

Os So Officer Nicoletti was

following standard operating

procedure.

Q. So is it safe to say, that
Officer Nicoletti was disciplined for
following standard operating
procedures?
A, All right.

For one, I had nothing to do
with the investigation. It was an
Internal Affairs investigation. They

determined he did not follow policies.

Wilson Deposition April 4, 2022, page 34(18-25) and page 35 (12-20) Jacobs

v. City of Philadelphia 19-cv-4615 (once again, Wilson had nothing to do

Pace’s IAD decision of wrongly disciplining an officer who did not violate

departmental policy).

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9 Q. Can you think of any reason why
10 Deputy Police Commissioner Wilson would not
11 inform you that he was initiating a
12. disciplinary investigation into Plaintiff
13. Jacobs?
14. =A. Ican't.
15 Q. And you already stated that you
16 never listened to any podcast that Plaintiff
17 Jacobs participated in?
18 A. No, | haven't.
19 Q. You do not know what Plaintiff
20 Jacobs said on any podcast?
21 A. No, I don't.
22 Q. Have you ever known Detective Jacobs
23 to smear the Philadelphia Police Department?

A. No, I don't. | don't have any
first-hand information of that.
BY MR. JACOBS:

Q. Would Defendant Deputy Commissioner
Wilson initiating a disciplinary
investigation into a plaintiff in pending
litigation, in your opinion, would that seem
10 ~—retaliatory?
11 MR. SHEEHAN: Objection to
12. form.
13. A. I don't know when or at any time
14 when Wilson, such as myself, was informed
15 that there was litigation, so | wouldn't
16 know -- if someone knew there was litigation
17. and it wasn't a legitimate reason, that would
18 be retaliation. But it would have to have
19 both of those factors. You would have to
20 know that you were a defendant and you would
21 have to know that what you were alleging
22 wasn't true in order for it to retaliate.
23 Butl have no knowledge of what Deputy Wilson
24 knew or the investigation personally.

ow Ow nu w& Ww

Former Philadelphia Police Commissioner Christine Coulter April 28, 2022
deposition page 66 (9-23) and page 67 (3-24) Jacobs v. City of Philadelphia
19-cv-4615.

The defendants argue their violations of the plaintiff's First Amendment
Rights were necessary under Pickering. If this was even close to a true

statement why would the Philadelphia Police Commissioner not be informed?

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c. Jason Hendershot: It is clear defendant Hendershot was an operative “playing
both sides” in an effort to protect his own interest. First Hendershot informed
the plaintiff defendant Wilson and Krasner began their retaliatory actions
immediately following the plaintiffs filings of lawsuits against them.
Hendershot stated during his deposition that he had to act as an advocate on
behalf of the plaintiff between September 2019 and November 2019.
Hendershot also informed stated during the deposition during that period of

time he had to keep Krasner’s attorney, Kia Ghee, “up to speed.”

JASON HENDERSHOT 120
1 A. Tf my memory serves me correctly, and

2) you know this; I was with my mother on her death bed.

4| behalf when she was dying in bed, Jake.

5 Q. Take your time. Because that's not the

6| way it occurred because both of us --

Hendershot deposition page 120, lines 1-6

JASON HENDERSHOT 122

1; time that I was just responding to was in September

2) -- ‘sometime between September and November of 2019

3| when my mother was sick with cancer.

Hendershot Deposition page 122, lines 1-3

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Q- Okay. So Kia Ghee -- strike that.
What did Deputy Commissioner Wilson

erder you to do as it related to Kia Ghee?

MR. GONZALES: Objection. Asked and
answered. You can answer it again.
THE WITNESS: “In summary to get’ her up

to speed om the allegations or assumption that
ADA Tripp had made against you involving the
grand jury leak.
BY MR. JACOBS:
Qs Did you inform: Deputy Commissioner
WALES Gn St that time that Detective Tacobs did not

Gommit a grand jury leak violation?

Hendershot deposition page 119, lines 12-24

Hendershot further stated he knew the grand jury leak was a fabrication and

Krasner would retaliate against the plaintiff.

Q. But the Philadelphia Police Department

allowed her to continue with this farce and stress

out their employees; is that correct?

Hendershot deposition page 137, lines 4-9

on & WN BR

we spoké Sof; but Iido remember having conversations:

JASON HENDERSHOT

Lid

A. EZ don't remember the exact words: that,

tHat es my anewer.

BPSKE ABSUE Tevery time -)

55

HE Gontt +émembex exactly what! we

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Hendershot deposition page 110 (21-24) and page 111 (1-6)

The problem with Hendershot’s credibility is he has intentionally falsified
official documents, including affidavits and warrants. This is clearly a matter
of public concern. The plaintiff is a member of various communities that are
affected by this illegal activity. Hendershot originally engaged in criminal
activity of behalf of Krasner with fabrication of the affidavit, criminal
complaint, and arrest warrant to arrest former Philadelphia Police Office Ryan

Pownall.

cL TOR PROB eet AS

I, Philadelphia Police Lieutenant Jason Hendershot, Badge #148, Officer Involved
Shooting Investigation Unit, being duly swom according to law, hereby depose and state as
follows:

I. Tama Lieutenant employed by the Philadelphia Police Department and presently assigned to
the Officer Involved Shooting Investigation Unit. I have been a swom law enforcement
officer with the Philadelphia Police Department since 1997, In.my capacity as a law
enforcement officer and Lieutenant with the Philadelphia Police Department, I have been
involved in numerous arrests and investigations.

2 [have been advised of the facts gathered during the investigation of Ryan Pownall who,
while a Philadelphia Police Officer and on duty, shot and killed David Jones, The
investigation utilized the resources of the Twenty-Ninth County Investigating Grand Jury
(MISC. NO.0006987-2016), which issued Presentment No. 4 under Notice C-55. That
Presentment, which is attached to this Affidavit and incorporated by reference herein, sets
forth the factual basis of the probable cause supporting tlie issuance of an arrest warrant for
Ryan Pownall, who lives at'8606 Bridle Road, Philadelphia, PA, for violating the Penal Laws
of Pennsylvania on June 8, 2017, in the City and County of Philadelphia,

3 Based on this information, there is probable cause to believe that Ryan Pownall,
Violated the following provisions of the Pennsylvania Crimes Code:

Title 18 Pa.C.S. § 2501 — Criminal Homicide

Title 18 Pa.C.S. § 907 — Possessing an Instrument of Crime (M2)
Title 18 Pa.C.S, $.2705 ~ Recklessly Endangering Another Person (M2)

The facts set forth in the foregoing affidavit are truc and correct to the best of my
knowledge, information and belief.

Issuing Authority Signature Affiant Signature

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COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA

DC #2017-25-047393 DKT#
CRIMINAL COMPLAINT

Commonwealth of Pennsylvania y, Ryan Pownall

I, the undersigned, do hereby state under oath or affirmation:

(I) My name is: Police Lieutenant Jason Hendershot

2) J accuse: Ryan Pownall
Who lives at 8606 Bridle Road
With violating the Penal Laws of Petinsylvania oa or about: June 8" 2017
in the Couaty rot Philadelphia

QB) the nels of the accused were!

Refer to the attached, Presentment No. 4
County Investigating Grand Jury Twenty-Nine
MISC, NO, 0006987-2016

In violation of Pennsylvania Penal Laws, section and title:
CHARGES:
Title 18 Pa.C.S, § 2501 ~ Criminal Homicide

Title 18 Pa.C.S. § 907 - Possession of an Instument of Crime (M1)
Title 18 Pa.C.S. § 2705 Recklessly Endangering Another Person (M2)

Allof which ts against the peace-and dignity. of the Commonwealth of Pennsylvania.

) Task thata warrant of arrest or a summons be issued and ihe accused be required to answer the charges |
have made. This complaint has been reviewed and approved by A.D.A. Tracy Tripp.

(5) I swear to or affirm the within complaint is true and correct, and sign it before a Philadelphia Commen

Pleas Court Judge
ff
of a t Yoathu tbe?

Signatime ofA fiiant

On Thusday, August 30" 2018, the above named alfiant swore of affirmed that the facts set forth were true
and correct to the best of his/her knowledge, information and belief, and signed it in my presence. | believe
the within affiant to bea responsible person and that there is probable cause for the issuance of process.

iff wring
GG fencing got “poe
issuing Authority
Seal

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WARRANT OF ARREST

COMMONWEALTH OF PENNSYLVANIA
> joy COUNTY OF PHILADELPHIA jos no. 289380

ARISES the set ht oa Pinky

To. Le Tason Lideadhas #14 , or any other authorized

Serving Officer)
person, in the name of the Coiimonvwealth of Pennsylvania, you are commanded to take into ) custody
Ayan Pownal | wit, pretest mstiaahndong ol tu Sl,
. (Name) {if unknown, description)
(Address)
if N& be foundinthesaid Commonwealth, and bring hi a. ___before us at

they}
331 & a # Ste eet Ph, ‘a Pitto tse te Common upon the complaint or

citation of Lt. Jason Hondecsh t Fig 01S) Yon't charging him with
(his, them) .
CL ISO) Criminal Homicide, Ce G01 fossessing an Dastiment

of & Chime Ctra) CL 05 paces Fade agfitlaay A futher to be dealt with

‘3 ots WOldy Yy,
according to law, and for sii purposes this shall be your su Cwarant, Wits the hand and official

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Bail to be demanded: $

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How does the plaintiff know the affidavit, criminal complaint, and arrest
warrant was illegal and false only based upon his knowledge and information
of the investigation alone you ask? Hendershot admitted there was never

any probable cause to arrest Pownall

A thorough review of all evidence collected during the Officer Involved Shooting Investigation,
interviews of witnesses, and analysis of video, leads us to believe that the aforementioned facts do
not rise to the level of probable cause to recommend criminal charges against former Police Officer
Ryan Pownall.

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Those are Hendershot’s words not the plaintiff's. How do you lose probable
cause? Answer: You don’t, there was never probable cause. Pownall was
illegally arrested on orders of Lawrence Krasner. It does not stop there for the
illegal activity of the DAO and PPD in its targeting of law enforcement
officers. Here are email exchanges between the assigned investigator in the
Walter Wallace Officer Involved Shooting (““OIS”) and ADA Vini Corrigan of
the Philadelphia District Attorney’s Office. After Corrigan tells the
investigator to falsify her affidavit and remove the “aggressive” actions of
Wallace so they can charge the Officers, the investigator refuses. Hendershot
then has the investigator’s affidavits/application for search warrants voided.
Hendershot then falsifies the affidavit and warrant upon request of Corrigan

and removes the aggressive actions of Wallace.

From: Daphne Smith <Daphne.Smith@ Phila.gov>
Sent: Tuesday, October 27, 2020 1:28 PM

To: Vincent Corrigan <Vincent.Corrigan@Phila.gov>
Cc: Jason Hendershot <Jason.Hendershot@Phila.gov>
Subject: CCI and Medical Search Warrants for PS20-29

Good afternoon ADA Corrigan,
Attached are the search warrants for CCI and Medical Records for Walter Wallace.

Regards,

Det. Daphne Smith#660

Officer Involved Shooting Investigation Unit
ORI: PAPEPO000

(215) 683-1866/67

(215) 683-1868 fax

2301 S. 24th St. (Basement)

Phila, PA. 19145

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Fine ME tists i Se Apel oie ath SeeS mma i gee SHnman meen AeR gemenmeveny imme aE Ae

From: Vincent Corrigan <Vincent.Corrigan@Phila.gov>
Sent: Tuesday, October 27, 2020 3:42 PM

To: Daphne Smith <Daphne.Smith@Phila.gov>

Subject: Re: CCl and Medical Search Warrants for PS20-29

| cannot approve the warrants in their current form. The following changes are necessary:

a} Do not refer to the weapon as a "butcher knife." We have the knife please refer to it by it's
size.
b) eliminate the phrase “aggressively approaching" use walking towards or similar wording
instead. :

_ ¢) eliminate “lunged at the officers" substitute continued to approach the officers with the
knife in his hand or similar language.

Please resubmit the warrants with the changes.

Thanks
Vini

Vincent Corrigan

Assistant District Attorney
Special investigations Unit
3S Penn Sq 18th Floor
Philadelphia, Pa., 19107

Phone: 215-686-8754

Cell: 215-834-2962

Fax: 215-686-5880

Email: Vincent.Corrigan@ohiia.

From: Vincent Corrigan <Vincent.Corrigan@Phila.gov>
Sent: Tuesday, October 27, 2020 3:50 PM

To: Daphne Smith <Daphne.Smith@Phila.gov>

Subject: Re: CCl and Medical Search Warrants for PS20-29

The date and time of the CCI search is yesterday (10/26) at 9:26pm. No warrant was
approved for a search at that time and the date of the search itself will need to be changed.
Hopefully a search was not conducted at that time. If a search did take place at that time it

was without a warrant.

Vincent Corrigan “i
Assistant District Attorney

Special investigations Unit

3 S Penn Sq 18th Floor

Philadelphia, Pa., 19107

Phone: 215-686-8754

Cell: 215-834-2962

Fax: 215-686-5880

Email: Vincent. CorricarGiphite. gos,

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Re: CCl and Medical Search Warrants for PS20-29

Daphne Smith <Daphne.Smith@Philagov>

Tue 19/21/2020. 4:22 Pi

To: Vincent Corrigan <Viacent.Corrigan@Phile.gov>

The Search warrant for CCl is just a formality. An exigent request was made to Police Radio
yesterday and they sent the CAD report, This is normal practice. After reviewing the body
cameras and all video circulating social media it is my opinion that my description of the
decedents actions is accurately reflected in the probable cause for my warrant. Mr, Wallace
did more than merely walk towards the Officers and he did in fact lunge at the Officers. | can
change the description of the knife to that of a ten inch chef knife but that is the only change
that | see that is warranted,

Regards,

Det, Daphne Smith#660

Officer Involved Shooting Investigation Unit
ORI: PAPEPO000

(215) 683-1886/67

(218) 683-1868 fax

2301 S. 24th St. (Basement)

Dhila DA 40446

As a result of this exchange, Hendershot did the following:

APPLICATION FOR,

Conrimroaniwealth of Pennsylvania
* p ss:
CITY AND COUNTY OF PHILADELPHIA SEARCH SARRANT
Det. Daphoe Smith 660 Officex Involved Shooting Invest? 24220
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So this incident. ALL

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ORIGIMAL APPLICATION - RETAINED SY ARFIANT

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Commonwealth of Pennsplvania | .s. seine viakee
CITY AND COUNTY OF PHILADELPHIA AND AFFIDAVIT
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Det. Daphne Smith 660 orst 231221
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that certain proparty is evidenca of or ie fol of a came ols canteband or is onlawtuly possessed or i othen'se [aE OP APPLICATION

subject to seiure, and is located at particular premises or in the possession of particular person as describad below. 10/27/2020

ADENTIFY ITEMS TO BE SEARCHED FOR ANT SEIZEO (Ee as spsctec as pasibley

i Walter Wallace DOB 10/5/93 27/B/U, including but not Limited to X-rays
- scans ig =e maps teostinet on 10/26/20 MRN#468803879 in reference to an Officer
i irred on 10/26/2020 at 4 2h Locust Street

Sg aac SOROF DR RESEARCHED (proper

mter {Medical Records nae

YEARIDISTJCOMPLAINT NO.
Pena Cride Code XC2AQ2-1 Agere ated Assault Against Law Enforcement 2020~18-073445.
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‘pavucians balowy

‘ sponded to 6124 Locust Street for a report of a
person screaming. Upon arrital,a\y ater identified as Walter Wallace 27/B/M exited the
residence armed with a butch in e and began aggressively approaching the Officers. The
Officers backpedalled, all the whil ordering Wel # to multiple times to drop the knife.
Wallace continued to oe the Officers goody and lunged at the Officers causing then
@was transported to Presbyterian hospital

2 p27} goro
Declined by ADA Vincent Corrigan 4
ATTACH ADDITIONAL PAPER (75.51) IF NECESSARY CO CRECK RERE IF ADDITIONAL, vc SED.

PLEASE SEE REVERSE SIDE OF THIS PAGE FOR INSTI

SIGNATURE OF AFFIANT BADGE NO, DisTaNT
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Sagnature of Porson Sizing Property Bodge Ne. |

SIGNATURE OF WITHESS TO INVENTORY (Name ard Andros)

TO LAW ENFORCEMENT OFFICER: SHEREAS, facts have been swom to or attirmed before me by witton affidavit’s) atached hereto from which | nave found probable cause, |
do authorize you te search the above described premises or parson, and fo seize, secure, inventory, and make relumn sovording to the Pennsylvania Rules of Criminal Procedure, the
above daceribed items.

{7} This Warrant should te served as s0an as practicable dut in 00 event ** TyThig warrent should o2 served as soon as practicable tut ip no event

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ang shai be served only during daytime hours of BAM, to 10 P.M, and may be served anytime durng day or night.
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ORIGINAL APPLICATION - RETAINED BY AFFIANT

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" Investigation Report - CO Philadelphia Police Department

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Bg CONTINUATION (1). | 20" | 18 ~ 1973345 | io72e/20 Page 2 of 2

onuATION FORSEAROH AND SEIZURE WARRANT #d 3} Be 3
=e luvele Shooting rovsttstin tht Control PS 20.9

On 10-26-2020, at sisiatiits 30 PN, Pollee Officers
were operating a marked patzol vehicle, in full uniform aad responded toaradio call for a “Person
‘soreaming/aimed with a knife” at 6124 Locust Street. Upon artival, the officers encountered the decedent,

"Walter Wiliam Wallace, DOB: 10-5-1993, exiting the front door of 6124 Locust Street, who walked off the

* withthe knife, while the officers contiaued to order Wallace to drop the knife, The officers backed away to the

R29? Syd

* front pore, holding a 12” knife in lis right hand, The officers immediately began to back step awey ftom him,

ordering him to drop the knife, while dravring their weapons, Wallace continued to advance towards the officers

opposite side of the street.and around ee auto, all the vig giving verbal commands to Wallace to stop *
and drop the knife, . 3

Wallace’s mother, KB, and Wallace’s othe JB,, attempted to intervene, by pushng/eebbing Wallace inthe
middle of the street and sidewalk without success. Wallace walked between treo parked cars atid as he neared
the street, hé advanced quickly towards the officers, with the kuife stilt in hand, slowed his atvancement aud

* walked towards them, In reshonse, both officers discharged their weapons, fatally wounding Wallace,

Wallace was transported end-later pronounced at Pees iraen Hospital at 4:06 PM,

b Your affiant requests Walter Wallace’ spina soporte retained by Penn Presbyterian Hospital, $1N.39"
} Stree, Philadelphia, PA 9 nani pees a pet ny pf ee onesie
‘ ‘ait televant'to this investigation. , .
I certify that this fling ss with the provision of the Public Access Policy of the Unified Judicial Systen of
Pennsylvania; Case records of the:Appellate and Trisl Courts that require confidential information. and documents
differently that non-confidential information and documents. ‘ .
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; Seance ssi SEARCH WARRANT

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Lieutenant eset Hendexshst #48, ost Unit , . 231223

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Please note the intentional fabrication by Hendershot with the approval
of Corrigan and to the detriment of the Officers. Wallace “slowed his
advancement and walked towards them,” in response the Officers to shot

and killed Wallace. Hendershot authored the illegal activity requested by

the DAO.

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Note: One of the discharging Officers in the Wallace OIS was killed and never
received the justice he deserved. The other officer is still under investigation

for the Wallace OIS by the DAO (3+ years later). The City also settled with

the Wallace family for over 2.5 million dollars.

d. DF Pace: Pace approved charges based upon a four (4) minute investigation.
Pace based his conclusion of information provided by Hendershot, which has
been proven incorrect. Pace also approved charges against SWAT Officer
Richard Nicoletti III for not violating departmental policy. Pace retired from
the police department and sold his home as a result of approving retaliatory
disciplinary charges against the plaintiff and Christina Mellett. Mellett filed a
lawsuit against Pace and the City of Philadelphia, which the City settled for
approximately 300k. When the plaintiff attempted to depose Pace on these
issues the defendants initially took a long break and abruptly ended the
deposition. The funny thing about DF Pace’s discipline of the plaintiff was the
fact he was under “investigation” for violating the Philadelphia Police
Department’s Social Media Policy (6.10) the same time as the plaintiff.
Wilson and Pace decided he did not violate the police, which culminated in

mandatory training. The parties, at the same time, determined the plaintiff

violated the policy.

22 heard.

23 Q. And at that time you had also filed a
24} Federal Civil Rights complaint for your actions on

Geftman Reporting Associates
610-608-1040

Pace deposition page 26, lines 23-24

65

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24

social media; is that correct?

A. I don't know if that was
contemporaneous or not. But I did not file anything
against the City.

Q. But your actions were widespread as a
result of the Plain View Project; is that correct?

A, My actions were widespread. I'm sorry,
I don't quite understand what you're trying to say.

Q. The Plain View Project cast a stain

upon the Philadelphia Police Department; is that

correct?

A. Upon the Philadelphia Police Department
or on me?

Q. Upon the Philadelphia Police
Department.

MR. GONZALES: I'm going to object.
When you say the Plain View Project, what are
you referring to? Associated with the Plain
View Project? The evidence that they
allegedly uncovered? The actions of the
police officers in posting certain things?
When you say the Plain View Project, can you
be more specific?

BY MR. JACOBS:

Pace deposition page 27, lines 1-24

66

Case 2:19-cv-04616-HB Document179 Filed 01/12/24 Page 67 of 71

1 QO. Mr. Pace, what do you need me to
2. clarify?
3 A. Well, you're saying the Plain View

4, Project cast a stain upon the police department. I'm
5) not sure I --

6 Q. When the Plain View Project was

7; authored, did it receive a lot of negative press

8 attention?

9 A. Well, depends on whose side you were on
10; I suppose. It did receive press attention, I'll

1l| cettainty agree with that.

12 Q. Was the press attention positive?

13 A. Again, it depends on who you

14} consider -- the Plain View Project would consider

15| positive. I considered it negative against me.

16 Q. Did anyone charge you with conduct

17} unbecoming of an officer unspecified?

18 A. No.

19 Q. Did anyone consider your actions

20. egregious?

al A. No.

22 Q. So when the court dismissed your

23, allegations on January 13, 2020, did the City of

24| Philadelphia discipline you in any way?

Pace deposition page 28, lines 1-24

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24

A. Well, I think you're conflating two
issues here.

Q. No, I'mnot. Did the City of
Philadelphia, the Philadelphia Police Department,
discipline you in any way for your actions on social
media?

A. The answer to your question is no, but
that's two separate issues.

Q. So you can make statements on social
media that go under negative press coverage but
Jacobs can't discuss his own Federal litigation
without it being determined egregious by you; is that
correct?

MR. GONZALES: Objection.
Argumentative. You can answer if you
understand.

THE WITNESS: JI. disagree with your
position that I made a negative statement.

BY MR. JACOBS:

Q. And I disagree with your position that
I made a negative statement. It's of no consequence.
That's the point. That's the whole point. You're
deeming my actions at the same period of time as

being egregious while not looking at yourself,

Pace deposition page 29, lines 1-24

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e. The Court: The plaintiff has submitted “new evidence” and DENIED leave to
amend.
The Court has inserted facts into the record as evidence in error.
The Court has allowed the defendants to violate the FRCP.
The plaintiff was forced to adhere to these “tactics.” The plaintiff's tax dollars
pays for these tactics.
FRCP Rule 26 states a party “must” and “without” awaiting a discovery
request.
FRCP Rule 37(a)(4) states “evasive” or “incomplete: answers “must” be
treated as a failure to disclose.
The plaintiff (former decorated officer), without any provocation, has had
security called on him.

Vil. CONCLUSION

PA Supreme Court Justice Dougherty authored a nineteen page Concurring OPINION

in the Pownall matter.
The Concurring Opinion started with the following:

{J-76-2021] [MO: Dougherty, J.]
IN THE SUPREME COURT OF PENNSYLVANIA
EASTERN DISTRICT

COMMONWEALTH OF PENNSYLVANIA, : No. 17 EAP 2021

Appellant : Appeal from the Judgment of
: Superior Court entered on 9/4/2020
: at No. 148 EDA 2020 Quashing the
v. : appeal from the order entered on

: 12/30/2019 in the Court of Common
: Pleas, Philadelphia County, Criminal

RYAN POWNALL, : Division at No. CP-51-CR-0007307-
: 2018.

Appellee ‘
> ARGUED: December 7, 2021

CONCURRING OPINION

JUSTICE DOUGHERTY DECIDED: July 20, 2022
A special concurrence is unusual,? But so is the Philadelphia District Attorney's

Office's ((DAO”) prosecution in this case. Thatis why | feel compelled to write separately,
unconstrained by majority authorship, to pull back the curtain on some of the concerning

irreguiarities that Jurk just beneath the surface of this appeal.

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Justice Dougherty ended his Concurring Opinion in the following manner:

procedural justice and that guilt is decided upon the basis of sufficient evidence.”
Pa.R.P.C. 3.8, Comment.

Little that has happened in this case up to this point reflects procedural justice. On
the contrary, the DAO’s prosecution of Pownall appears to be “driven by a win-at-all-cost
office culture” that treats police officers differently than other criminal defendants. DAO
CONVICTION INTEGRITY UNIT REPORT, OVERTURNING CONVICTIONS —— AND AN ERA 2 (June 15,
2021), available at tinyurl.com/ClUreport (last visited July 19, 2022). This is the antithesis
of what the law expects of a prosecutor.
Based upon the above listed facts contained herein, it is without question the plaintiff
is a Whistleblower within the meaning of Pennsylvania Law. It is also without
question the plaintiff reported on matters of public concern and was exercising his
First Amendment Rights afforded to him by the United States Constitution.

Wherefore, the defendants’ Motion for Summary Judgment is factually deficient and

should be DENIED.

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CERTIFICATE

I, Derrick Jacobs, Plaintiff within the ab
and correct copy, according to the Federal Rules

following on the date shown below,

Date: 1/12/2024

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OF SERVICE

yve-captioned matter, hereby certify that a true

of Civil Procedure was sent via email upon the

Desi jacgu”
| mua

Pro se ee

